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                IN THE DISTRICT COURT OF THE UNITED STATES
                    FOR THE MIDDLE DISTRICT OF ALABAMA
                             NORTHERN DIVISION

UNITED STATES OF AMERICA                      )
                                              )
       v.                                     )   CR. NO. 2:13cr33-MEF
                                              )
CLARENCE E. SMITH                             )

                 RECOMMENDATION OF THE MAGISTRATE JUDGE

       This case is before the court on defendant’s motion to suppress (Doc. # 62). The

court has heard evidence on the suppression motion, and it has also carefully considered

the motion itself and the United States’ response. For the reasons set out below, defendant’s

motion to suppress is due to be denied.

                                          FACTS

       From April through June, 2012, the Criminal Investigations Division of the

Montgomery Police Department (MPD) began to notice that a large quantity of counterfeit

bank notes were being passed in the city of Montgomery, Alabama. The paper and/or the

serial numbers used for these notes either matched or were very similar, so investigators

believed that the money was coming from a single source. On May 18, 2012, the MPD

received a Crime Stoppers tip from an anonymous informant alleging that defendant

Clarence Smith (alias Bubba) was making counterfeit money at a hotel on Zelda Road,

offering females for prostitution, and acting as a hit man for hire. The tip stated that Smith

was possibly involved with a gang, had weapons, and could be violent. It also indicated that


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Smith’s baby’s mother was a woman named Rosie who drove a gray Mercedes.

       At the time of the tip, the MPD was already familiar with Clarence Smith as a person

of interest in several open homicide investigations. Subsequently, the department received

information that Smith may have been involved in the murder of Reginald Shackleford on

June 11, 2012. An Alcohol, Tobacco, and Firearms (ATF) source also indicated that Smith

had been seen in possession of a .38 caliber revolver on several occasions. Officers

decided to question Rosie Murphy, the mother of Smith’s child, relating to the Shackleford

homicide.

       During questioning on June 13, 2012, Murphy provided information to the Secret

Service concerning possible counterfeit activity by Smith. She also showed them a cell

phone video of Smith using a pair of scissors to trim or cut notes printed on linen paper.

The MPD decided to investigate this lead to get “leverage” for the homicide investigation.

       On June 14, 2012, Murphy got in touch with Secret Service agents, who had

contacted her earlier on an unrelated matter, to tell them that Smith had called and asked her

to deliver him some ink cartridges that they had stolen from Wal-Mart the day before. Smith

also wanted genuine $100 and $50 bills so he could replicate them. The Secret Service

provided the currency to Murphy with the intent to follow her, in concert with MPD officers

using undercover vehicles, to an address on Bidford Way where Murphy would deliver the

ink cartridges and genuine currency to Smith and attempt to take pictures of whatever

apparatus he was using to counterfeit currency. However, although Murphy complied and


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proceeded to the Bidford Way address, she subsequently texted the Secret Service to say

that too much time had elapsed in getting there, and Smith had already left.

       The next day, on June 15, 2012, a woman named Shanara Clark was apprehended

with counterfeit money in her possession at a local Wal-Mart. She was arrested and

transported to the Criminal Investigations Division. Officers determined that the currency

in Clark’s possession was very similar to the counterfeit currency that they had seen earlier.

They interviewed Clark, who told them that she had purchased a quantity of counterfeit

money at a residence on the west side of town, which she was able to identify as a house

on Bidford Way using maps with turn-by-turn directions and a photograph. Officers

recognized this residence as one belonging to Clarence Smith.

       At this time, the MPD believed that it had enough information to move forward with

a state charge against Smith for criminal possession of a forged instrument. However,

investigators felt they still could not specifically determine whether Smith was the

manufacturer or was merely possessing or obtaining counterfeit notes. In consultation with

the Secret Service, MPD officers set up a plan for surveillance to obtain further information

or locate additional residences where Smith might be manufacturing or possessing

counterfeit currency.

       Murphy contacted the Secret Service again that afternoon and indicated that Smith

wanted the ink delivered a different address from the Bidford Way residence. Secret

Service and MPD officers met Murphy at the T.A. Travel Plaza between 3:30 and 4:00


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p.m. to provide her again with genuine currency with the intention of following her when she

delivered the ink and the money. Murphy was to relay information to a Secret Service agent

by cell phone, which he would in turn share with all the other officers, and to take pictures

or video of the method Smith was allegedly using to duplicate the currency.

       Officers followed Murphy and saw her pick Smith up in her vehicle. Some time later

she was able to call and text the information that Smith was going to various different

houses to collect counterfeit currency in order to use it to leave town because he knew the

police were after him. After they stopped at a couple of residences, Murphy communicated

around 7:21 pm that she and Smith were headed to Woodley Road. Prior to this time,

Corporal Joel Roberson of the MPD’s Highway Safety Team had been told over the radio

by other MPD officers participating in the surveillance that once enough probable cause had

been developed to arrest Smith, he would be asked to conduct a traffic stop in order to take

Smith into custody. The officers informed Roberson that Smith was believed to be involved

in counterfeiting, was a suspect in a homicide, and was known to carry a .38 revolver. When

Murphy’s vehicle reached Woodley Road, Roberson caught up with her car and was told

to go ahead with the traffic stop, which was captured on video (Government’s Exhibit 2).

       Roberson used the rolling radar in his vehicle to clock the speed of Murphy’s car and

found that her vehicle was traveling 46 mph in a 35 mph zone. Roberson had been advised

that a confidential informant was driving the car, and that the traffic stop was being made

to take the passenger into custody without giving away the confidential informant. Roberson


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activated his lights and pulled Murphy’s car over at approximately 7:31 pm. A S.W.A.T.

truck pulled behind him as he made the stop.

       Roberson walked up to the passenger side of the vehicle and knocked on the window

until Smith rolled it down approximately four inches. Roberson observed an open beer

container sitting in the center console. Roberson asked Smith to roll the window down the

rest of the way, intending to ask the driver for her license and insurance and get her to the

back of the car. Smith said that the window did not roll down. Roberson asked Smith to

open the door. Instead, Smith reached over, locked the door, and rolled the window all the

way up. He then reached toward the center console. Roberson was concerned that Smith

was going for a weapon. He drew his own weapon and aimed it at Smith. Smith immediately

reached straight for the ceiling.

       Roberson continued to command Smith to open the door, until another officer was

able to unlock it from the left side. Smith reached again for the center console, and

Roberson told him, “Don’t you reach into that car.” Roberson began removing Smith from

the vehicle. Smith resisted, “[j]ust acting his deadweight pulling against me.” Roberson had

by this point re-holstered his weapon. He told Smith, in a continued effort to make the

incident look like an ordinary traffic stop, that if everything was okay and he did not have

any tickets they were going to let him go. Roberson handcuffed Smith for the safety of the

officers and himself and placed Smith sitting down on the curb on the side of the street. He

did not announce to Smith that Smith was under arrest.


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       Roberson asked who owned the vehicle, and Murphy said that it was hers. Smith

asked Murphy if she had given permission to search the car, and she indicated that she had

not. After additional conversation, Roberson proceeded to search the car, believing that the

open container gave him the right to search anywhere where more alcohol could be, and also

that because they had a confidential informant driving the vehicle for the purpose of picking

up counterfeit currency so police could conduct a traffic stop, she would have consented

to the vehicle search based on his experience with informants. During the search, officers

located a gun in the center console of the vehicle underneath $4,745 in counterfeit currency.

       Roberson searched Smith himslef for weapons. He believed that even though Smith

was handcuffed, he could still reach around and retrieve a weapon. Roberson knew that

Smith would be placed with him in his patrol car for transport, and desired to check his

pockets for officer safety. Roberson asked Smith what was in his pockets, and Smith

replied, according to Roberson, “‘some pills and shit’” for him to smoke on.” Roberson then

announced that Smith was under arrest for narcotics.

                                      DISCUSSION

       At the suppression hearing, Smith’s counsel indicated that his primary goal is to

suppress the firearm discovered in the center console of the vehicle in which Smith was a

passenger. Smith’s theory for suppressing the weapon is that certain un-Mirandized




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statements he made concerning the contents of his pocket (“pills and marijuana” 1) led to

his arrest, and his arrest in turn led to the search of the automobile during which police

found the weapon. In other words, defendant claims that the gun is due to be suppressed as

the “fruit of the poisonous tree.” See Wong Sun v. United States, 371 U.S. 471 (1963);

United States v. Delancy, 502 F.3d 1297 (11th Cir. 2007). Defendant also seeks to suppress

the un-Mirandized statements that he claims led to his arrest, but only to the extent that the

statements were responsible for the officers’ subsequent search of the vehicle and discovery

of the firearm.2

       The United States maintains, inter alia, that officers searched the car and seized the

gun because of an open container violation, not because of defendant’s arrest for narcotics

possession. It also contends that, as a passenger without a possessory interest in the vehicle,

Smith does not have standing to challenge the vehicle’s search. The court addresses the

standing argument first.

1.     Standing

       In cases such as this one, the court does not analyze a passenger’s “standing” to

challenge a vehicle search in the traditional sense. In Rakas v. Illinois, 439 U.S. 128


       1
          According to defendant’s counsel at the suppression hearing, Corporal Roberson asked him,
“What’s this in your pocket?” Defendant said, “That’s my personal stuff.” Corporal Roberson asked,
“Personal stuff like what?” Defendant replied, “Pills and marijuana.” See also Motion to Suppress
at 2 (different wording).
       2
        To the extent that defendant argued any other grounds for suppression in his motion, these
were waived at the suppression hearing.

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(1978), the Supreme Court “abandoned a separate inquiry into a defendant's ‘standing’ to

contest an allegedly illegal search in favor of an inquiry that focused directly on the

substance of the defendant's claim that he or she possessed a ‘legitimate expectation of

privacy’ in the area searched.” Rawlings v. Kentucky, 448 U.S. 98, 104 (1980). The Court

chose this approach because “Fourth Amendment rights are personal rights which, like

some other constitutional rights, may not be vicariously asserted.” Rakas, 439 U.S. at 133-

134. Under Rakas, the proponent of a motion to suppress has the burden of establishing that

his own Fourth Amendment rights were violated by the challenged search or seizure. Id. at

132 n. 1 (1978).

         In the context of passengers in a private car, the Supreme Court “has held that a

passenger, who has no possessory interest in the automobile, does not have a legitimate

expectation of privacy in the interior of the automobile because he does not have the right

to exclude others from the car.” United States v. Harris, 526 F.3d 1334, 1339 (11th Cir.

2008); see also United States v. Melgar, 927 F.Supp. 939, 948 (E.D. Va. 1996) (“the law

is clear that the passenger of a vehicle has no reasonable expectation of privacy in the

vehicle's contents.”)(citing Rakas, 439 U.S. at 134 (articles in glove compartment and under

seat); United States v. Rusher, 966 F.2d at 874 (articles in bed of truck); United States v.

Paulino, 850 F.2d 93 (2d Cir.1988) (articles under floor mat of car)). As the Melgar court

noted,




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       [t]his principle extends to personal property the passenger may have placed
       in another's car; ‘[a] person who cannot assert a legitimate claim to a vehicle
       cannot reasonably expect that the vehicle is a private repository for his
       personal effects... .” United States v. Hargrove, 647 F.2d 411, 413 (4th
       Cir.1981). In addition, because of the personal nature of the Fourth
       Amendment's protection, an individual has no reasonable expectation of
       privacy in articles of which he has disclaimed ownership. United States v.
       Leshuk, 65 F.3d 1105, 1111 (4th Cir.1995) (stating that “a person who
       voluntarily abandons property loses any reasonable expectation of privacy in
       the property and is consequently precluded from seeking to suppress
       evidence seized from the property”).

Melgar, 927 F. Supp. at 948; see also United States v. McKennon, 814 F.2d 1539, 1546

(11th Cir. 1987) (when one relinquishes possession and disclaims ownership of any article,

any expectations of privacy become illegitimate).

       In the instant case, Smith concedes that he was not the owner of the automobile that

the officers stopped and searched, and instead was simply a passenger. Nor does he contend

that he owned the weapon seized – to the contrary, defendant’s motion to suppress indicates

that Smith “has always maintained that he had no connection to the firearm found in the

vehicle.” Doc. # 58-1 at 3. Accordingly, Smith had no reasonable expectation of privacy

in the vehicle or the firearm and, therefore, he fails to establish that his own Fourth

Amendment rights were violated by the challenged search and seizure. “A person who is

aggrieved by an illegal search and seizure only through the introduction of damaging

evidence secured by a search of a third person's premises or property has not had any of

his Fourth Amendment rights infringed.” Rakas, 439 U.S. at 134.

       However, Smith – who essentially conceded at the suppression hearing that he does

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not have “conventional standing”– still maintains that he enjoyed a different kind of

expectation of privacy in the vehicle. He argues that the fact that the owner of the vehicle,

Rosie Murphy, declined to give her consent to search led to a legitimate expectation on his

part that the officers would not search the vehicle. This argument is admirable for its

creativity, but nevertheless unavailing. Murphy’s failure to consent did not convey to Smith

any possessory interest in the car. If anything, her assertion of control by declining consent

only reemphasized Smith’s own lack of authority over the vehicle. At all times, Murphy

retained the right to exclude others, and she alone could have granted or revoked consent

at any time. Accordingly, Smith had only a hope of privacy – not a legitimate expectation

of the kind that the Fourth Amendment was designed to protect, or that society would be

prepared to recognize as objectively reasonable. See Rakas, 439 U.S. at 140; United States

v. Segura–Baltazar, 448 F.3d 1281, 1286 (11th Cir. 2006).

       In the alternative, even if defendant had possessed a reasonable expectation of

privacy in the vehicle, the officers were entitled to search it for evidence of a crime. Under

Alabama law, “[i]t is unlawful for a person to have in his or her possession alcoholic

beverages in an open container in the passenger area of a motor vehicle of any kind on a

public highway or right-of-way of a public highway of this state.” Ala. Code §35-3A-

330(b). Under the so-called “automobile exception,” the Fourth Amendment does not

require police to obtain a warrant to search a vehicle which they have probable cause to

believe contains evidence of a crime. See Cal v. Carney, 471 U.S. 386, 392-93 (1985);

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California v. Acevedo, 500 U.S. 565, 579–80, (1991); United States v. Ross, 456 U.S. 798,

823 (1982); United States v. Lanzon, 639 F.3d 1293, 1300 (11th Cir. 2011); Brown v. United

States, 219 F. App'x 917, 919 (11th Cir. 2007).

       In this case, Corporal Roberson testified that when he first walked up to the car he

observed an open beer container in plain view in the center console. This was sufficient to

establish probable cause that the vehicle, which was readily mobile, contained evidence of

the offense of possession of an alcoholic beverage in an open container in the passenger

area of a motor vehicle on a public highway. For this reason also, defendant’s suppression

motion as to the vehicle search is due to be denied.

2.     Statements

       Defendant seeks to suppress his statements concerning the contents of his pockets,

contending that they were the product of custodial interrogation without benefit of Miranda

warnings, and that the statements in turn led to defendant’s arrest and the search of the

vehicle. This argument is without merit.

       “Police are not generally required to give Miranda warnings during ordinary Terry

stops.” United States v. Viezca, 555 F. Supp.2d 1254, 1263-1264 (M.D. Ala. 2008) (citing

Pennsylvania v. Bruder, 488 U.S. 9, 10 (1988) (Persons temporarily detained pursuant to

such stops are not “in custody” for the purposes of Miranda.)). However, investigative stops

may mature into arrests under certain circumstances, and the right to Miranda warnings


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attaches when custodial interrogation begins. United States v. Acosta, 363 F.3d 1141, 1148

(11th Cir. 2004). One such circumstance arises where an individual has been formally

arrested or subjected to a restraint on his or her freedom of movement of the degree

associated with a formal arrest.

       “Normally courts apply a two-part test to determine whether a suspect is in custody

for Miranda purposes: ‘first, what were the circumstances surrounding the interrogation; and

second, given those circumstances, would a reasonable person have felt he or she was not

at liberty to terminate the interrogation and leave.’” Acosta, 363 F.3d at 1148 (citation

omitted). However, as the Acosta Court noted, “a suspect who is detained during a Terry

stop is not free to leave from the beginning of the stop until it ends. If we applied the

general Miranda custodial test literally to Terry stops, the result would be that Miranda

warnings are required before any questioning could occur during any Terry stop.” Id.

Accordingly, the appropriate inquiry in the context of a Terry stop is, instead, whether the

encounter involved a highly intrusive coercive atmosphere – that is, in this case, whether

the totality of the circumstances was such that a reasonable person in Smith’s position

would have believed that he was utterly at the mercy of the police, away from the protection

of any public scrutiny, and had better confess or else. Id. at 1151: see also United States

v. Stamps, 2005 WL 6125472, 4 (M.D. Ala. 2005) (noting as relevant factors (1) whether

a reasonable person in the defendant's shoes would have understood that his detention was

not likely to be temporary and brief; and (2) whether the person stopped under the

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circumstances would feel that he was completely at the mercy of the police) (citing

Berkemer v. McCarty, 468 U.S. 420, 438 (1984)).Under the objective standard applied to

determine whether an individual is in custody, the reasonable person from whose

perspective custody is defined is a reasonable innocent person. United States v. Street, 472

F.3d 1298, 1309 (11th Cir.2006).

       In the instant case, the traffic stop occurred in daylight hours on a public roadway

where the participants easily could be observed by passers-by. The officers did not

disclose to Smith that he was being sought in connection with counterfeiting or a murder

investigation; instead, they conducted the encounter as an ordinary traffic stop – for which

they had clear probable cause, given the speeding violation – in order to protect their

confidential informant. Thus, Smith had no reason to understand that his detention was not

likely to be temporary and brief. Although Corporal Roberson testified that he himself

considered Smith to be under arrest when he was restrained, defendant was not actually

informed that he was under arrest prior to making the statements in question.

       It is true that defendant’s statements were made after he was removed from the

vehicle and handcuffed, and that, as the video shows, at least one of the officers still held

a shotgun at the ready at that time (albeit at some distance from defendant, and not pointed

in his direction). However, “the fact that police handcuff the person or draw their weapons

does not, as a matter of course, transform an investigatory stop into an arrest.” United States

v. Blackman, 66 F.3d 1572, 1576 (11th Cir. 1995); see also United States v. Beltran, 367

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Fed.Appx. 984, 988, 2010 WL 729241, 2 (11th Cir. 2010), judgment vacated on other

grounds, Beltran v. United States, 131 S.Ct. 899, 178 L.Ed.2d 739, 79 USLW 3398 (U.S.

Jan 10, 2011). Here, Smith previously had locked his door and rolled up his window instead

of rolling it down when he was asked to do so. Several times, he had also reached toward

the center console, where officers were concerned he was possibly in possession of a .38

revolver that he was known to carry. Smith also had resisted getting out of the vehicle. And

he continued to reach back toward the console even while officers sought to restrain and

cuff him and place him on the curb. Accordingly, the officers’ actions in removing Smith

from the car and restraining him, both for their safety and his, were reasonable responses

to Smith’s own acts, rather than affirmatively coercive efforts to cause Smith to confess or

else.

        Thus, under the totality of the circumstances, the traffic stop did not involve the type

of highly intrusive coercive atmosphere that may require Miranda warnings even before a

formal arrest is made. A reasonable innocent person in Smith's position would have

believed that he merely was involved as a passenger in an ordinary traffic stop, not that he

was utterly at the mercy of the police, away from the protection of any public scrutiny, and

had better confess or else. No Miranda warnings were required at the time, and Smith’s

statements are not due to be suppressed. A fortiori, even if the weapon had been found as

a result of Smith’s arrest, and the arrest had been based on his statements, Smith also is not

entitled to suppression of the weapon as the “fruit of the poisonous tree.”


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                                     CONCLUSION

       Accordingly, for the foregoing reasons, it is the RECOMMENDATION of the

Magistrate Judge that defendant’s motion to suppress (Doc. # 62) be DENIED.

       It is further

       ORDERED that the parties are DIRECTED to file any objections to the said

Recommendation on or before December 31, 2013. Any objections filed must specifically

identify the findings in the Magistrate Judge's Recommendation objected to. Frivolous,

conclusive or general objections will not be considered by the District Court. The parties

are advised that this Recommendation is not a final order of the court and, therefore, it is

not appealable.

       Failure to file written objections to the proposed findings and recommendations in

the Magistrate Judge's report shall bar the party from a de novo determination by the

District Court of issues covered in the report and shall bar the party from attacking on

appeal factual findings in the report accepted or adopted by the District Court except upon

grounds of plain error or manifest injustice. Nettles v. Wainwright, 677 F.2d 404 (5th Cir.

1982). See Stein v. Reynolds Securities, Inc., 667 F.2d 33 (11th Cir. 1982). See also

Bonner v. City of Prichard, 661 F.2d 1206 (11th Cir. 1981, en banc), adopting as binding

precedent all of the decisions of the former Fifth Circuit handed down prior to the close of

business on September 30, 1981.

       DONE, this 18th day of December, 2013.


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                        /s/ Susan Russ Walker
                        SUSAN RUSS WALKER
                        CHIEF UNITED STATES MAGISTRATE JUDGE




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